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Dear, Honorable Judge Siragusa,

| am writing to the courts of The Western District Of New York to file an answer to the United
States District Court's motion to strike against my answer in opposition to the notice of strike to
my claim to currency in the amount of $8,040.

It is still the States' argument that | failed to claim said currency in a timely manner.

It is still my argument that | have done everything that was asked of me to make a claim to my
currency since the day it was confiscated.

As previously stated these actions included filing a petition to the Department of Justice on
December 17, 2020.

Petition# -209S-11A-2AA-2E9 and a claim on January 15, 2021.

Claim number# -210F-83F-633-B62.

These actions were taken in response to direct correspondence received to do so ina timely
manner.

In this new Motion filed by United States district attorney Grace Carducci on 1/7/22 she states
that she had given me “direct” notice of a deadline to file a claim to my currency of $8040 on
June 14, 2021.

Prior to the adjudication of the charges that initiated the confiscation of my money | had no
knowledge or correspondence with Ms.Carducci or anyone representing her office at all which
deems the statements made in these filings to be false and should be grounds for dismissal of
this case.

It is impossible to have received a direct notice from Ms. Carducci or anyone representing her
office on this date since | was vacationing in Las Vegas at this time. To support these facts |
have attached documents of my round-trip itinerary and rental car receipts for the dates in
question. Ms.Carducci never provided me with notice of anything.

In this new filing Ms. Carducci offered an exhibit, labeled as exhibit 1 which is a declaration
made by a Mr. Jonathan Jirik. This declaration states that Mr. Jerik under penalty of perjury has
never had any communication with me regarding the money seized in relation to the case of
People vs Kendrick Bronson.

| find this Declaration to be true and hold merit as | have never spoken with Mr. Jerik at all. | had
only been in contact with Ms. Elanore Biggers.

Elanor Biggers was the original and only district attorney to my knowledge presiding over this
matter.

| had no knowledge of Mr. Jerik being the prosecutor over this matter until the day trial for this
case started.

Ms. Carducci also entered an exhibit labeled exhibit 2. Exhibit 2 offers Ms. Elanor Biggers
declaration under penalty of Perjury that she doesn’t recall ever having communication with me
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regarding anything. | am going to refute this statement by providing documents to support
otherwise.

My communication with Ms. Biggers can be supported by documents that | have provided with
this motion to grant me immediate access to my money based on the United States District
Court Western District of New York's failure to prove that notice was given to me to file a timely
claim to my currency in question.

There were several occasions that Ms. Biggers and | had direct communication by phone.
Though | cannot 100% account for every occasion that | have spoken to Ms. Biggers. | can
account for and attest to two specific dates that Ms. Biggers and | discussed not only my money
but two vehicles that were confiscated during this seizure.
The first date that | can attest to would be November 16, 2020.
On that date Miss Biggers contacted me by phone to notify me that she had signed off on the
release of authorization for my vehicle from the City auto pound. The vehicle in question is a
2005 Ford F-150. | have provided the crime report and signed authorization with this filing.
At this time | questioned Miss Biggers about the $8040 as well as the release of my other
vehicle that had been confiscated.

Miss Biggers was very adamant on the fact that both the money and the second vehicle which
was a 2013 Honda Accord would not be released. She stated to me that the money was being
held as evidence and if | had any chance at getting the money back at all, it wouldn't be until the
case had been concluded.

| then questioned Ms. Biggers as to why they were only releasing one vehicle, she then stated
that the Honda was not going to be returned to me and was being seized. At that time | had Ms.
Biggers on speakerphone and was advised by a close friend with legal knowledge that they
couldn't keep my car if it wasn't paid off.

| immediately made this statement to Miss Biggers. | specifically remember her surprised
reaction to my knowledge of this information. Ms. Biggers then stated to me that she would have
to investigate those facts and get back to me regarding the release of the other vehicle.

The second date that | can attest to direct communication with Miss Biggers would be on
November 20, 2020.

This is the date that Ms. Biggers contacted me to let me know that she had just signed the
second release of authorization for my 2013 Honda Accord. | asked Ms. Biggers about the
money again at that time and she advised me as she had before, as well as stated for me to
speak to my attorney if | have any questions regarding the money. | notified Miss Biggers that |
didn’t have an attorney as | had no criminal charges pending as a result of this investigation.
She then advised me to speak with Kendrick’s Lawyer with any further questions regarding my
money.

My attention to this matter has always been unyielding and unfaltering. | have responded to
every correspondence received to make a claim to my money and | have provided information -
that supports the truth of these matters. | ask that The court consider all these things and
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immediately grant a motion to release my money so that | can put this behind me and move
forward with my life.

Please feel free to contact me to discuss this matter further by phone or email.

585-709-2236
dodat1881@qmail.com

Thank you,
Cristal Starling
Case 6:21-cv-06323-CJS Document17 Filed 01/11/22 Page 4 of 7
-Your friends at Southwest

“Please note that some Customers that experience significant changes to their itinerary may be entitled to
refund.

Updated flight information

 

 

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Revised 05/01 WDNY CERTIFCATE OF SERVICE

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

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Plaintiff(s), CERTIFICATE OF SERVICE

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Defendant(s).

 

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I declare under penalty of perjury that the foregoing is true and correct, to the best of my
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